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                                                                                                        E-FILED
                                                                        Thursday, 22 April, 2021 01:28:58 PM
                                                                               Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

JENNIFER J. MILLER, et al.,                           )
                                                      )       Case No. 18 cv 3085
                Plaintiffs,                           )
                                                      )       Hon. Sue E. Myerscough
v.                                                    )       Presiding Judge
                                                      )
MARC D. SMITH, et al.,                                )       Hon. Tom Schanzle-Haskins
                                                      )       Magistrate Judge
                Defendants.                           )
                                                      )


     JOINT MOTION FOR EXTENSION OF TIME TO FILE DISPOSITIVE MOTIONS

        Plaintiffs Jennifer J. Miller, et al. (“Plaintiffs”), by and through their attorney, David G.

Sigale, and Defendants Marc D. Smith, et al. (“Defendants,” and together with Plaintiffs, “Par-

ties”), by and through their attorney, Kwame Raoul, Attorney General of the State of Illinois,

jointly move for an extension of time until August 13, 2021 to file dispositive motions in this

matter, with responses due 21 days later and replies due 14 days after responses. In support of their

motion, the Parties state as follows:

        1.      In its scheduling order of June 3, 2020, the Court set a deadline of June 1, 2021

for filing dispositive motions in this matter. See June 3, 2020 Text Order.

        2.      On April 10, 2021, the Office of the Illinois Attorney General discovered its com-

puter network was compromised. The breach is under investigation by federal law enforcement

at this time.

        3.      As a result of this disruption, Assistant Attorneys General Helfrich, Chimienti,

and Wenzloff currently have no access to their government emails or case files, including the

files related to this matter.



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       4.      At this time, it is not known when access to files will be restored, but the restora-

tion is expected to take at least several weeks.

       5.      In addition to the technological problems facing counsel for Defendants, counsel

for Plaintiffs has a number of major filings coming due in the near term, as well as a trial.

       6.      For all of these reasons, the Parties ask the Court to set a schedule for briefing on

dispositive motions as follows:

               August 13, 2021                 All dispositive motions to be filed
               September 3, 2021               Responses to dispositive motion to be filed
               September 17, 2021              Replies in support of dispositive motions to be filed

       7.      These deadlines would necessitate adjusting the date for trial as well.

       8.      The Parties bring this motion in good faith and with no dilatory purpose.

       WHEREFORE, the Parties respectfully ask the Court to grant their motion and extend the

time for filing dispositive motions to August 13, 2021, with responses due 21 days later and replies

to be filed 14 days after responses.

Dated: April 22, 2021                                 Respectfully submitted,
                                                           KWAME RAOUL
 /s/ David G. Sigale                                       Illinois Attorney General

 David G. Sigale, #6238103                         By:     /s/ Gretchen E. Helfrich
 LAW FIRM OF DAVID G. SIGALE, P.C.                         Gretchen E. Helfrich, #6300004
 430 West Roosevelt Road                                   Matthew V. Chimienti, #6312531
 Wheaton, IL 60187                                         Aaron P. Wenzloff, #6329093
 630.452.4547 (Tel.)                                       Assistant Attorneys General
 dsigale@sigalelaw.com                                     100 W. Randolph St., 11th Floor
                                                           Chicago, Illinois 60601
 Attorney for Plaintiffs                                   (312) 814-3000
                                                           Gretchenhelfrich21@gmail.com

                                                           Attorneys for Defendants




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